          Case 1:18-cr-00032-DLF Document 81 Filed 12/27/18 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
               v.
                                                           1:18-cr-00032-2-DLF
CONCORD MANAGEMENT AND
CONSULTING LLC

       Defendant.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S OPPOSITION
TO GOVERNMENT’S MOTION FOR LEAVE TO FILE AN EX PARTE, IN CAMERA,
 CLASSIFIED ADDENDUM TO ITS OPPOSITION TO DEFENDANT’S MOTION TO
        DISCLOSE DISCOVERY PURSUANT TO PROTECTIVE ORDER

       Defendant Concord Management and Consulting LLC (“Concord” or “Defendant”),

through counsel, submits this opposition to the Government’s Motion for Leave to File an Ex

Parte, In Camera, Classified Addendum to the Government’s Opposition to Defendant’s Motion

to Disclose Discovery Pursuant to Protective Order.

       In this first-of-its-kind, make-believe case the Special Counsel now seeks to completely

obliterate any remaining rights of Concord to defend itself, and in typical fashion provides only

completely misleading case authority for the remarkable proposition that he should be able to

continue to whisper secrets to the Court. Since the Special Counsel has already gotten away with

this once as he notes in his Motion, this Opposition is likely fruitless, but object we must both for

Concord and every other defendant to whom the Special Counsel believes the laws and rules of

the United States no longer apply to his novel adventures. The Special Counsel has made up a

crime that has never been prosecuted before in the history of the United States, and now seeks to

make up secret procedures for communicating ex parte to the court which have never been

employed in any reported criminal case not involving classified discovery. There is a reason for



                                                 1
          Case 1:18-cr-00032-DLF Document 81 Filed 12/27/18 Page 2 of 5



the absence of any case law supporting the Special Counsel’s request and it can be found at both

the Supreme Court and within this Circuit, that is, “[i]n our adversary system, it is enough for

judges to judge. The determination of what may be useful to the defense can properly and

effectively be made only by an advocate.” Dennis v. United States, 384 U.S. 855, 875 (1966).

Moreover, ex parte proceedings are generally disfavored even when the federal rules expressly

permit them, and most often occur only when the government is seeking to convince the court

that specific classified discovery is not material, which is not the case here. See United States v.

George, 786 F. Supp. 11, 16 (D.D.C. 1991).

       The Court will recall that from the outset the Special Counsel maintained that there was

no classified information in this case. In fact, the Special Counsel continues to concede that the

discovery in this case contains no classified information. Instead the Special Counsel asks the

Court to accept secret ex parte communications from him to support the unprecedented argument

that the Defendant itself cannot view millions of pages of non-classified discovery. This request

is just another squinch to support the novelty of this entire proceeding. Undersigned counsel has

been unable to identify any reported case where a corporate defendant was denied access to

discovery, as the Special Counsel seeks here. Similarly, there is no reported case to support the

Special Counsel’s instant motion.

       The Special Counsel’s nifty way to deal with his personally-created insurmountable

problem is to first claim that United States v. Napue, 834 F.2d 1311 (7th Cir. 1989), supports his

motion; but nothing could be further from the truth. In this thirty-year-old, out-of-circuit case,

Napue, a convicted drug dealer, sought disclosure of the names of all government witnesses well

in advance of trial. The Napue court concluded that the defendant had no constitutional or

statutory right to this information in advance of trial. See id. at 1316. However, in noting its




                                                 2
          Case 1:18-cr-00032-DLF Document 81 Filed 12/27/18 Page 3 of 5



agreement with Napue “that ex parte communications between the trial court and the prosecution

in a criminal case are to be greatly discouraged . . .,” the trial court asked the prosecutor to

provide an ex parte submission explaining in detail the danger to each witness of potential early

disclosure of this non-mandatory discovery. Id. at 1316, 1320 On appeal, Napue could not

establish prejudice because all of the witness names were ultimately disclosed and the trial court

allowed sufficient time for defense counsel to prepare cross-examination. Id. at 1323. However,

the Court of Appeals blasted the prosecutors conduct as “particularly disturbing” for providing

only summaries of information to the trial court instead of grand jury testimony and police

reports in support of its motion. Id. at 1321-22. Critically, the Napue Court explicitly noted that

ex parte communications between the court and the prosecutor “can create both the appearance

of impropriety and the possibility of actual misconduct.” Id. at 1318-19.

       A first year law student would likely question how Napue helps the Special Counsel here,

where the Special Counsel wants to secretly traduce Concord and co-defendants to the Court so

the Court will deny all allegedly sensitive discovery to Concord. The Court has not asked for an

ex parte submission, as was the case in Napue. And the ex parte submission in Napue was

determined on appeal to be both improper and insufficient, saved only because the witness

names were ultimately provided to the defendant. The Special Counsel here is not seeking delay

in production, but instead asking to Court to prohibit Concord forever from seeing the obligatory

discovery. Putting aside for the moment the question of how this would work at an actual trial (it

will not), the Special Counsel bizarrely notes that “should discovery in this case continue . . .” he

now intends to invoke the Classified Information Procedures Act (“CIPA”) despite the fact that

none of the discovery is classified. See Motion at 4 n.2. But the Special Counsel has not

completed discovery even to defense counsel, so what the heck is he now talking about?




                                                 3
          Case 1:18-cr-00032-DLF Document 81 Filed 12/27/18 Page 4 of 5



       Next it looks as if the Special Counsel tossed in United States v. Yunis, 867 F.2d 617

(D.C. Cir. 1989), just to have a case from this Circuit. It is reasonable to ask if he just threw a

dart at the Federal Reporter. In Yunis, the prosecutor made ex parte submissions specifically

pursuant to the procedures set forth under CIPA, and the appellate court determined on

interlocutory appeal by the government that the classified discovery was not relevant to the

defense. Here, again, there is no classified discovery. Instead, the Special Counsel invokes

Yunis for the proposition that it can provide ex parte classified reasons to the court without any

CIPA proceeding about why the Defendant is not entitled to discovery of non-classified

discovery at all. Yunis said no such thing and cannot be extended to support any such argument.

       Here, like everything else in this case, the Special Counsel has already unilaterally

determined that his proposal cannot possibly prejudice Concord. See Mot. at 3. But that is not

within the power of any prosecutor to decide. If the Court were to permit this unprecedented

conduct, it will be absolutely impossible for Concord to effectively challenge until appeal the

propriety of any resulting discovery order. That seems to be the Special Counsel’s plan despite

the fact that at a minimum it will have the appearance of impropriety, and in the worst case will

create the possibility of actual misconduct in leaving it to the Court alone to determine the

validity of the arguments provided by the Special Counsel absent any scrutiny by the Defendant.

That is not how criminal cases proceed in the United States.

       Finally, it is worth noting that while undersigned counsel continues to work through the

millions of pages of allegedly sensitive discovery, they would be hard-pressed at this point to

identify any sensitive discovery that fits within the categories outlined by the Special Counsel in

his prior briefing regarding the protective order. See Gov’t Mot. for Protective Order at 6-8, Dkt.

24. In contrast, it seems as if the Special Counsel himself is ignorant of the information




                                                4
          Case 1:18-cr-00032-DLF Document 81 Filed 12/27/18 Page 5 of 5



available to the general public of the collection techniques he used in this matter, as noted in

Concord’s Motion for Approval to Disclose Discovery Pursuant to Protective Order at 13-15,

Dkt. 77. Could the manner in which he collected a nude selfie really threaten the national

security of the United States?

       For the reasons set forth above, Defendant Concord Management and Consulting LLC

respectfully requests that the Court deny the government’s motion.

Dated: December 27, 2018                           Respectfully submitted,

                                                   CONCORD MANAGEMENT AND
                                                   CONSULTING LLC

                                                   By Counsel

                                                    /s/Eric A. Dubelier
                                                   Eric A. Dubelier
                                                   Katherine Seikaly
                                                   Reed Smith LLP
                                                   1301 K Street, N.W.
                                                   Suite 1000 – East Tower
                                                   Washington, D.C. 20005
                                                   202-414-9200 (phone)
                                                   202-414-9299 (fax)
                                                   edubelier@reedsmith.com
                                                   kseikaly@reedsmith.com




                                               5
